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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )            Case No. 8:05CR49
                                             )
                     Plaintiff,              )
                                             )
       v.                                    )                   ORDER
                                             )
MARK ERWIN CAMPBELL,                         )
                                             )
                     Defendant.              )


       IT IS ORDERED that a change of plea for the defendant, Mark Erwin Campbell, is

scheduled before the undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S.

Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on November 30, 2005, at 2:00

p.m. Since this is a criminal case, the defendant shall be present, unless excused by the

court. If an interpreter is required, one must be requested by the plaintiff in writing five (5)

days in advance of the scheduled hearing.

       DATED this 17th day of November, 2005.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             United States District Judge
